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                            .                                                    .
                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TEXAS                                 2OI6MAR lL    AM 9:t9
                                   AUSTIN DIVISION

UNITED STATES OF AMERICA,
               Plaintiff,

V.                                                  )   CiVIL ACTION NO.

$263,176.00, MORE OR LESS,
IN UNITED STATES CURRENCY,
                                                    )

                                                    )   A16CV0265 ss
                                                    )
                      Defendant.                    )

                 ORDER FOR WARRANT OF ARREST OF PROPERTY

       WHEREAS a Verified Complaint for Forfeiture               in   rem was filed on March 2, 2016,

against the following property:

                    $263,176.00 More or Less, in United States Currency

(hereinafter "Respondent Property"), alleging that the Respondent Property is subject to

forfeiture to the United States of America pursuant to 18 U.S.C.             §   981(a)(l) and   21 U.S.C. §

881(a)(6) for violations of i8 U.S.C.   §   1956 and 21 U.S.C.   §    801   et seq.;   IT IS THEREFORE

       ORDERED that a Warrant for Arrest of Property of Respondent Property issue as prayed

for, and that the Department of Treasury, Internal Revenue Service for the Western District of

Texas, or any other law enforcement officer, or any other person or organization authorized by

law to enforce the warrant, be commanded to arrest the Respondent Property and take it into

possession for safe custody as provided by Rule G, Supplemental Rules of Federal Rules of Civil

Procedure, until further order of the Court, and to use whatever means may be appropriate to

protect and maintain the Respondent Property while in custody, including designating a

substitute custodian or representative for the purposes of maintaining the care and custody of the

Respondent Property and to make a return as provided by law.




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                  .                                S
SIGNED this   /   day of                       ,   2016.




                                  UNITED STATES            TRICT JUDGE
